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 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    DEAN ROBERTS,                                    No. 2:24-cv-00785 DJC AC
12                       Plaintiff,
13           v.                                        ORDER TO SHOW CAUSE
14    MIDLAND CREDIT MANAGEMENT,
      INC.,
15
                         Defendant.
16

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18          Plaintiff, appearing in pro se, filed a complaint and a motion to proceed in forma pauperis

19   on March 14, 2024. ECF Nos. 1 and 2. On May 31, 2024 the undersigned issued an order

20   granting plaintiff’s motion to proceed in forma pauperis and finding the complaint appropriate for

21   service. ECF No. 3. Plaintiff was ordered to complete and submit necessary service documents

22   within 14 days, and file a statement regarding submission of the document. ECF No. 3. Plaintiff

23   failed to timely file a notice with the court regarding submission of the service documents.

24          Local Rule 110 provides that failure to comply with court orders or the Local Rules “may

25   be grounds for imposition of any and all sanctions authorized by statute or Rule or within the

26   inherent power of the Court.” Plaintiff’s case cannot proceed if service documents are not

27   submitted.

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      Case 2:24-cv-00785-DJC-AC Document 8 Filed 06/21/24 Page 2 of 2


 1         Accordingly, IT IS HEREBY ORDERED that:
 2      1. Plaintiff is Ordered to Show Cause in writing within 10 days of this order why this action
 3         should not be dismissed for failure to prosecute;
 4      2. Plaintiff’s filing of the required service documents will be deemed good cause shown; and
 5      3. If plaintiff fails to comply with this order, the case will be dismissed without prejudice for
 6         failure to prosecute.
 7   DATED: June 20, 2024
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